UNITED STATES DISTRlCT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

NO. 18 Civ.1693(RWs)

 

ANTH()NY ZAPPIN,
Plaintiff,
-against- W
CLAIRE COl\/IFGRT,
ROBERT WALLACK,
THE WALLACK FIRl\/I, P.C.,
HARRIET NEWMAN COHEN,

COHEN RABIN STINE SCHUl\/IANN LLP,
COl\/IPREHENSIVE FAl\/IILY SERVICES,

lNC.,

Defendants.

 

 

N()TICE ()F MOTION OF
DEFENDANT CLAIRE COMFORT
TO DISMISS THE AMENDED
COMPLAINT

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PLEASE TAKE NOTICE that, in the alternative to the l\/lotion to Strike the Amended

Complaint Against Defendant Claire Comfort, Defendant Claire Comfort also moves this Court,

before the Honorable Robert W. Sweet, United States District Judge, United States Courthouse,

500 Pearl Street, New York, New York 100()7, to dismiss Plaintifi` s Amended Complaint

pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(1))(6), and for any other relief that

this Court deems just and proper. Defendant incorporates and relies upon the memorandum of

lavv, deelaration, and exhibits that she previously tile

d as part of her motion to dismiss Plaintifi’ s

- r-
§§initi£_PComplaint (Dkt. Nos. 30-32), as Well as all papers filed by the other defendants to this
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"" §:: D§`§ed: Washington, DC
g;:}` 53 August 25, 2018
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By: wm M"§\jc

Claire K. Comfort

Pro Se Defendant

1212 4th Street SE, Apt. 801
Washington, DC 20003
(253) 592-1578

 

Notice to Pro Se Litigant Who Opposes a Rule 12 Motion Supported by Matters Outside
the Pleadings

The defendant in this case has moved to dismiss or for judgment on the pleadings
pursuant to Rule 12(b) or 12(0) of the Federal Rules of Civil Procedure, and has submitted
additional written materials This means that the defendant has asked the Court to decide this
case without a trial, based on these written materials You are warned that the Court may treat
this motion as a motion for summary judgment under Rule 56 of the Federal Rules of Civil
Procedure. For this reason, THE CLAll\/IS YOU ASSERT lN YOUR COl\/IPLAINT MAY BE
DlSl\/IISSED WITHGUT A TRIAL IF YOU DO NOT RESPOND TO THIS l\/IOTION ON
Tll\/IE by filing sworn affidavits as required by Rule 56(0) and/ or other documents The full text
of Rule 56 of the Federal Rules of Civil Procedure is attached.

ln short, Rule 56 provides that you may NOT oppose the defendant’s motion simply by
relying upon the allegations in your complaint Rather, you must submit evidence, such as
witness statements or documents, countering the facts asserted by the defendant and raising
specific facts that support your claim. lf you have proof of your claim, now is the time to submit
it. Any witness statements must be in the form of affidavits An affidavit is a sworn statement
of fact based on personal knowledge stating facts that would be admissible in evidence at trial.
You may submit your own affidavit and/or the affidavits of others. You may submit affidavits
that were prepared specifically in response to defendant’s motion.

lf you do not respond to the motion on time with affidavits and/or documents
contradicting the facts asserted by the defendant, the Court may accept defendant’s facts as true.
Your case may be dismissed and judgment may be entered in defendant’s favor without a trial.

lf you have any questions, you may direct them to the Pro Se ()ffice.

Rule 56 FEDERAL RULES oF ervin PRocEDURE 76

entered against a minor or incompetent person only if rep~
resented by a general guardian, conservator, or other like fi-
duciary Who has appeared If the party against whom a default
judgment is sought has appeared personally or by a represent-
ative, that party or its representative must be served with
written notice of the application at least 7 days before the
hearing The court may conduct hearings or make referrals-
preserving any federal statutory right tn a jury trial--when
to enter or effectuate judgment, it needs to:

(A) conduct an accounting;

(B) determine the amount of damages;

(C) establish the truth of any allegation by evidence; or

(D) investigate any other matter.

(c) SETTING AsIDE A DEFAULT on A DEFAULT JUDGMENT. The
court may set aside an entry of default for good cause, and it may
set aside a default judgment under Rule 60(b).

(d) JUDGMENT AGAleT THE UNITED STATEs. A default judgment
may be entered against the United States, its officers, or its agen-
cies only if the claimant establishes a claim or right to relief by
evidence that satisfies the court.

(As amended Mar. 2, 1987, eff. Aug. 1, 1987; Apr. 30, 2007, eff. Dec.
1, 2007; Mar. 26, 2009, eff. Dec. 1, 2009.)

Rule 56. Summary Judgment

(a) MoTIoN FOR SUMMARY JUDGMENT on PARTIAL SUMMARY JUDG-
MENT. A party may move for summary judgment, identifying each
claim or defense_or the part of each claim or defense_~on which
summary judgment is sought. The court shall grant summary
judgment if the movant shows that there is no genuine dispute as
to any material fact and the movant is entitled to judgment as a
matter of law. The court should state on the record the reasons
for granting or denying the motion.

(b) TIME To FILE A MoTIoN. Unless a different time is set by local
rule or the court orders otherwise, a party may file a motion for
summary judgment at any time until 30 days after the close of all
discovery.

(C) PROCEDURES.

(l) Supportmg Factual Positions. A party asserting that a fact
cannot be or is genuinely disputed must support the assertion

(A) citing to particular parts of materials in the record,
including depositions, documents electronically stored in-
formation, affidavits or declarations stipulations (includ-
ing those made for purposes of the motion only), admis-
sions, interrogatory answers, or other materials; or

(B) showing that the materials cited do not establish the
absence or presence of a genuine dispute, or that an ad~
verse party cannot produce admissible evidence to support
the faot.

(2) Objectt`on That a Fact ls Not Supported by Adrm`ssz`ble Ei)z`-
dence. A party may object that the material cited to support
or dispute a fact cannot be presented in a form that would be
admissible in evidence

(3) Materi`als Not Ci`ted. The court need consider only the cited
materials, but it may consider other materials in the record.

77 FEDERAL RULEs or civn. PRocEDURE Rule 57

(4) Affz'dai)its or Declaratz'ons. An affidavit or declaration used
to support or oppose a motion must be made on personal
l<nowledge, set out facts that would be admissible in evidence,
and show that the affiant or declarant is competent to testify
on the matters stated

(d) WHF.N FACTS ARE UNAVAILABLE To THE NoNMoVANT. If a non-
movant shows by affidavit or declaration that, for specified rea-

 

sons, it cannot present facts"essential to justify its cpposltlon, the
court may:
(1) defer considering the motion or deny it;
(2) allow time to obtain affidavits or declarations or to take
discovery; or
(3) issue any other appropriate order.

(e) FAILING To PROPERLY SUPPORT OR ADDRESS A FACT. If a party
fails to properly support an assertion of fact or fails to properly
address another party’s assertion of fact as required by Rule 56(0),
the court may:

(1) give an opportunity to properly support or address the
fact;

(2) consider the fact undisputed for purposes of the motion;

(3) grant summary judgment if the motion and supporting
materials_including the facts considered undisputed_show
that the movant is entitled to it; or

(4) issue any other appropriate order.

(f) JUDGMENT INDEPENDENT oF THE MoTioN. After giving notice

and a reasonable time to respond, the court may:
(l) grant summary judgment for a nonmovant;
(2) grant the motion on grounds not raised by a party; or
(3) consider summary judgment on its own after identifying
for the parties material facts that may not be genuinely in
dispute

(g) FAiLING To GRANT ALL THE REQUESTED RELIEF. If the court
does not grant all the relief requested by the motion, it may enter
an order stating any material fact_including an item of damages
or other relief_that is not genuinely in dispute and treating the
fact as established in the case.

(h) AFFIDAVIT OR DECLARATION SUBMITTED IN BAD FAITH. If Sat-
isfied that an affidavit or declaration under this rule is submitted
in bad faith or solely for delay, the court~»after notice and a rea-
sonable time to respond_may order the submitting party to pay
the other party the reasonable expenses, including attorney’s fees,
it incurred as a result. An offending party or attorney may also
be held in contempt or subjected to other appropriate sanctions

(As amended Dec. 27, 1946, eff. Mar. 19, 1948; Jan. 21, 1963, eff. July
l, 1963; l\/lar. 2, 1987, eff. Aug. l, 1987; Apr. 30, 2007, eff. Dec. 1, 2007;
Mar. 26, 2009, eff. Dec. 1, 2009; Apr. 28, 2010, eff. Dec. 1, 2010.)

Rule 57. Declaratory Judgment

These rules govern the procedure for obtaining a declaratory
judgment under 28 U.S.C. §2201. Rules 38 and 39 govern a demand
for a jury trial. The existence of another adequate remedy does
not preclude a declaratory judgment that is otherwise appro-
priate. The court may order a speedy hearing of a declaratory-
judgment action.

 

 

  

 

 

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